                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                                     CASE NO. 10-80751-CIV-DIMITROULEAS
RALSTON S. BROWN,
                                                              Magistrate Judge Snow
       Plaintiff,
vs.

COLLECTO, INC. D/B/A EOS CCA,

      Defendant.
____________________________________/

                                 FINAL ORDER OF DISMISSAL

       THIS CAUSE is before the Court upon the Stipulation for Dismissal [DE-18], filed

herein on December 2, 2010. The Court has carefully considered the Stipulation and is otherwise

fully advised in the premises.

       Accordingly, it is ORDERED AND ADJUDGED as follows:

       1.      The Stipulation for Dismissal [DE-18] and the terms of the parties’ settlement are

               hereby APPROVED;

       2.      Plaintiff’s claims under the Fair Debt Collection Practices Act are hereby

               DISMISSED with prejudice;

       3.      The Court reserves jurisdiction to award Plaintiff reasonable attorney’s fees and

               costs with respect to Plaintiff’s claim under the Fair Debt Collection Practices

               Act. If the parties do not resolve the matter of Plaintiff’s attorney’s fees and costs

               by agreement, Plaintiff shall file a motion in accordance with Local Rule;

       4.      The Court declines to exercise jurisdiction over Plaintiff’s claims under the

               Florida Consumer Collection Practices Act and, accordingly, those two claims are

               hereby DISMISSED without prejudice;
       5.     The Clerk shall CLOSE this case and DENY all pending motions as moot.

       DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

3rd day of December, 2010.




Copies furnished to:
Counsel of Record
